MoUsTAFA EL-BAKL,Y

V.

AUTOZONE, Iuc., a Nevada
Curporatinn, Rob Harris,
.J`uao Gutierrez, and

Chris Ramos,

UNITED STATES DI'STRICT COUR'I`
NORTHERN DISTRICT OF ILLINDIS

EASTERN ])IVISIO`N
)
)
Plaintiff, ) No, U4CV 02767
) .
) Hoo. C. Norgle
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)
Dei'endants, )

Plaintiff’s ExhibitS-Schedule ‘C’
-_-_._._________

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exh. Date Description
W' 2.29.04 EEOC and mle charge omiscriminarion
El Balcly v. Autozone, Inc. - 5]:».
2 2005-1999 U.S. Individual Tax Retum, State Tax Ret'ums, Summaries, and supporting
documents (w-2 statements)
3 2/22/04~ Weelcly Autoznne Schedu`le for `MEB
5/29.{04 '
4 4/]3/03- Pert`ormance Summary Report-Six week Store Summaries
5/16/04 \
\
5 3/21/05 Affidavit ofr.)aniel Pmbo
i `
6 5/27/04 Autozone Inc:. Storc: 2575 performance summary and
1 10/30/04 SEC 1014 filing
\
7§' Medical Records for MEB

 

St. Mary’s of Nazareth I-Iospital Medical Records~ M`EB

 

 

 

 

 

Dr. Adna,n El-Gamal Medical Recc)rds -M`EB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[T 2/27/04 | Leeer from or. Luis. A. couer
d 3/07/07 IL Dept. Human Serviees-Disability Report
e 3/19/03 end Dr. Luis Couret return to work letters
2/26/04
f 10/5/02- Dr. Luis Couret, Medieal Reeords
. 6/] 7/04
g 3/19/03 and Dr. Daniel Osimani, Medieel Reeorde
3/24/04
8 Autozone HR file for MEE
a 4/6/02 Autozone Store Employment Applioation~`MEB
b Ste.tue change entry/record forms (t?t and oomrner driv.)
o Autozone Drug end Aleohol Testing Poliey Aoknowledgement Form
Sd 2/10/04 Autozone Correotive Aotion Review“MEB
9 Autozone I-lurnzm Reeouroes files (miso.)
d 8/5/04 Store 2575 Employee Register
b 4/6/04~ Autozone SMS Payroll Final I-Iistorice.l Report
10/14/03
e Autozone Pereonnel file for Juan Gutierrez
d Autozone Cornmeroial Speoialist/Commereiel Driver job posts
10
a 3/5/04 Steternent by W. Bush -
b 6/3/04 Confidentie.l Worksheet (A. Smith, R Mrehant)
o 6/1/04 Coverwl Fax from W. Bush to A. Smith. Autozone Leg§l
' ll Auto:»:one Elnployee Steternent Forms
a 4/1/04 Chri$tien Reunos Statement Forms ( l of 2)
7/29/04 Christian Re.rnos Statentent Forms (2 on)
b 5/28/04 Enrique Alejendre Statement Form
o 2/19/04 Robert `Nava`rro Statement Forrn
d 3/26/04 Rob I-Iarrie Stetement Forms (1 on)
5/28/04 Rob Harris St:atement Form (2 of 2)
o 4/2/06 Juan Gutierrez Statement Forrn
12
a ]0/31/05 Al|:)e.ny Parlc Cornrnunity Center_. Ino. letter to MEB
b Rimland Servioee NFP letter to MEB

 

 

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6/15/05

W Lakeshore letter to MEB

 

 

 

 

 

 

c
d 4/13/05 C.A.U.S.E.S. letter to MEB

e 5/10/05/ Illinois `Dept. of Central l\/lanagement Serviees letter to MEB .
f 4/22/05 Peace Corps Chieago Regional Dt`tice postcard to MEB

g 4/2005 l-Ioliday lnn Chlcago City Centre postcard to MEB

h 5/13/04 Olivet Naaarene University MBA S'tudent Acct. Report

 

 

 

 

 

 

 

